                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

            v.                                       Magistrate No. 20-1369
                                                     UNDER SEAL
 DEVIN MONTGOMERY

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                         AND FOR AN ARREST WARRANT

       I, Ryan P. O’Sullivan, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     Your affiant, Ryan P. O’Sullivan, is a Special Agent of the Bureau of Alcohol,

Tobacco, Firearms and Explosives (ATF), assigned to the Pittsburgh Field Office, Group II. Your

affiant has been employed as a Special Agent since September of 2015. While at the ATF National

Academy, your affiant received extensive training in investigating federal firearms, explosives,

arson and narcotics related violations, as well as surveillance, establishing probable cause, and

executing search and arrest warrants.

       2.     Your affiant has participated in criminal investigations with ATF, as well as other

federal, state and local law enforcement agencies relating to violations of federal laws involving

firearms, explosives, arson and narcotics. Accordingly, your affiant has been involved in the

execution of search warrants and arrest warrants pertaining to these offenses.

       3.     The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other law enforcement officers and witnesses. This

affidavit is intended to show merely that there is sufficient probable cause for charging DEVIN

MONTGOMERY with a violation of Title 18, United States Code, Section 844(f)(1), and for the

requested arrest warrant. This affidavit does not set forth all of my knowledge about this matter.



                                                1
       4.     Based on my training and experience, and the facts as set forth in this affidavit, there

is probable cause to believe that a violation of 18 U.S.C. § 844(f)(1) has been committed,

specifically arson of a vehicle leased and possessed by the Pittsburgh Bureau of Police (“PBP”),

which is an institution receiving federal financial assistance.

                                         THE STATUTE

       5.      Title 18, United States Code, Section 844(f)(1) provides in relevant part as follows:

               Whoever maliciously destroys, or attempts to damage or destroy, by means
               of fire or an explosive, any … vehicle … owned or possessed by, or leased
               to, … any institution or organization receiving Federal financial assistance,
               shall be imprisoned …

                   FEDERAL FINANCIAL ASSISTANCE TO PBP

       6.      The PBP participates in the Pittsburgh Bureau of Police/Drug Enforcement

Administration Drug Task Force (“PBP/DEADTF”). As a participant in the PBP/DEADTF, the

PBP, in 2018 and 2019, received Award letters from the federal High Intensity Drug Trafficking

Area (“HIDTA”) program, which provided the PBP with access to federal reimbursement funds

to cover expenses for the following types of expenses in the amounts set forth in the accompanying

parentheses: equipment ($36,000); supplies ($6,900); cell phones, tablets and service ($8,800);

overtime ($163,000); and vehicle leases ($24,000).

       7.      Pursuant to a Grant Agreement executed between the City of Pittsburgh and the

U.S. Department of Transportation, the PBP, for the period of 9/23/19 to 9/30/21, has been entitled

to access, and has accessed, federal reimbursement funds from the Federal Motor Carrier Safety

Administration Trust Fund to cover for expenses incurred by the PBP’s Commercial Vehicle Unit.

                                       PROBABLE CAUSE

       8.      On May 30, 2020, two Pittsburgh Police vehicles suffered fires during

demonstrations that occurred in downtown Pittsburgh. The first fire involved PBP marked Unit


                                                  2
3212, which at that time was leased and possessed by the PBP.           The car was burned at

approximately 4:45 pm while it was parked on Centre Avenue in front of the lower Centre Avenue

entrance of PPG Paints Arena. The second PBP vehicle fire involved an unmarked PBP Unit with

designation 3F04. That second fire, which is the subject of this Complaint, occurred at

approximately 5:15 pm on a street known as Washington Place, near the Fifth Avenue entrance to

PPG Paints Arena.

       9.     In the area around PPG Paints Arena on May 30, 2020, there was a crowd of several

hundred persons who had just participated in a protest march from downtown Pittsburgh. That

protest march related to the death of George Floyd in Minneapolis, MN, while Floyd was being

arrested and detained by police. At approximately 4:30 pm on May 30, 2020, several protesters

on Centre Avenue in Pittsburgh began to inflict damage on Unit 3212 as it was parked, unoccupied,

on Centre Avenue. The destruction of Unit 3212 began with one person spray painting Unit 3212.

Shortly thereafter, the destruction escalated to involve individuals kicking, stomping, and

smashing various parts of Unit 3212. Finally, Unit 3212 was set on fire through the joint efforts

of several people from the crowd, and was thereafter completely destroyed by the fire.

       10.    After Unit 3212 was burned, more than one hundred of the protesters walked from

Centre Avenue around the corner onto Washington Place heading toward Fifth Avenue. Your

affiant observed the following sequence of events on videotaped footage that the investigators in

this case obtained from various sources present at the scene where Unit 3F04 was burned: As the

crowd began to march down Washington Place toward Fifth Avenue, they were confronted by a

line of PBP officers in riot gear further down Washington Place near Fifth Avenue. At this time

Unit 3F04 was parked along the curb with several other marked PBP vehicles on Washington

Place. After a brief standoff with the crowd, the officers who were positioned on Washington



                                               3
Place chose to leave the area rather than engage in a physical confrontation with such a large

crowd. All of the police vehicles, except Unit 3F04, were driven away by PBP officers. The crowd

then continued marching down Washington Place toward Fifth Avenue. Upon reaching Unit 3F04,

numerous individuals began to physically attack the vehicle and access the interior of the vehicle.

One of the first individuals to approach Unit 3F04 was a black male wearing a #84 Antonio Brown

Steelers jersey, blue jeans and dark colored shoes. He also wore a dark colored bandana type of

face mask covering the lower portion of his face as well as a black beanie on his head. As set forth

in more detail below, there is probable cause to believe that the man in the Antonio Brown jersey

is Devin Montgomery, and that he participated in setting fire to Unit 3F04.

       11.     Videos of the crowd in the area around Unit 3F04 at this time show Montgomery

opening the rear passenger door of Unit 3F04. Shortly thereafter, Montgomery can be seen on

video next to that rear passenger door, at which time he is standing next to a person dressed in all

black whose face is covered with a mask, and who is wearing a lighter colored backpack.

Montgomery and the masked individual interact briefly with each other, as they each appear to be

igniting items in their hands. Within seconds, the masked individual and Montgomery each toss

an ignited item into the rear passenger compartment of Unit 3F04, which results in an interior fire

that eventually spreads and destroys Unit 3F04. Montgomery can be seen quickly moving away

from the unmarked Unit after setting it on fire. Other video footage from later that afternoon and

evening captures Montgomery walking in the downtown area. Attached hereto are exhibits 1-7,

which are still photos taken from the above referenced videos.

       12.     On June 17, 2020, the PBP posted several photos of Montgomery on the PBP

Facebook page with a request for members of the public to come forward with any helpful

information that would assist the PBP in identifying Montgomery. On June 18, 2020, the PBP



                                                 4
received tips from two separate individuals, both of whom requested that their identities not be

publicized. Both callers said that the man in the Antonio Brown jersey is Devin Montgomery.

        13.     Your affiant obtained a Pennsylvania Department of Motor Vehicles driver’s

license photograph of Devin Montgomery, a copy of which is attached hereto as exhibit #8. The

driver’s license photo is consistent with the facial features and complexion of Montgomery seen

in the attached still photos.

        14.     In late June of 2020, ATF Special Agents identified Diamen Green as a possible

girlfriend of Devin Montgomery and conducted surveillance on her residence, located at 2061

Reed Street, Pittsburgh. PA 15219. On June 29, 2020, ATF Special Agents observed an individual

dressed in green pants and a black short sleeve t-shirt exit this residence in broad daylight with his

face clearly exposed. This individual was positively identified as Devin Montgomery. ATF Special

Agents observed a circular tattoo on Montgomery’s left elbow which appeared to possibly be a

bomb or an 8 ball. This tattoo matched the tattoo seen on Montgomery’s left elbow in exhibits #1

and #3. While agents were conducting surveillance of Devin Montgomery on June 29, 2020, they

took a photograph of Montgomery which shows the above referenced tattoo on his left elbow. See

exhibit 9 attached hereto.

        15.     Based on review of video footage, still photos, physical surveillance and other

evidence from the above referenced events, there is probable cause to believe that Devin

Montgomery is the man in the attached photos.

                                          CONCLUSION

        16.     The facts above show that there is probable cause to believe that Devin

Montgomery maliciously damaged and destroyed, and attempted to damage and destroy, and aided

and abetted in the damage and destruction of a vehicle by means of fire, which vehicle was leased



                                                  5
and possessed by the PBP, which is an organization receiving federal financial assistance. I

therefore submit this affidavit in support of a criminal complaint seeking to charge Devin

Montgomery with a violation of 18 U.S.C. §§ 2 and 844(f)(1) on May 30, 2020.

       17.    The information above is true and correct to the best of my knowledge and belief.

                                                   Respectfully Submitted,

                                                   /s/ Ryan P. O’Sullivan
                                                   Ryan P. O’Sullivan, Special Agent, ATF


Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 30th day of June, 2020


_________________________________________
MAUREEN P. KELLY
UNITED STATES MAGISTRATE JUDGE




                                               6
EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
EXHIBIT 4
EXHIBIT 5
EXHIBIT 6
EXHIBIT 7
                                 Photo Search - PennDOT Details                                        06/19/2020 07:21:36 AM




                 Driver Name                  DEVIN ANTHON MONTGOMERY                      License Number (OLN) 31280339

                 Driver Address               314 BIRMINGHAM AVE                           DOB
                                              PITTSBURGH, PA 15210

                 Issue Date                   01/08/2020                                   Expiration Date              03/25/2021

                 Gender                       MALE                                         Height                       5 FT 09 IN

                 Eye Color                    (BR) BROWN                                   Photo Date                   06/02/2017 01:23:05 PM

                 Duplicate Count              8                                            License Class                (C) SINGLE/COMB < 26,001

                 Endorsements                                                              Restrictions

                 Comm. Restrictions                                                        Veteran Status               NOT DECLARED




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                                                                                                                         EXHIBIT 8
                                                             Page 1
EXHIBIT 9
